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                  EXHIBIT 6
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                                 #:52004



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 14   Attorneys for Plaintiffs,
      Masimo Corporation and Cercacor Laboratories, Inc.
 15
 16                    IN THE UNITED STATES DISTRICT COURT
 17                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18                               SOUTHERN DIVISION
 19
      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
 20   a Delaware corporation; and            )
      CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS MASIMO
 21   a Delaware corporation                 ) CORPORATION AND
                                             ) CERCACOR LABORATORIES,
 22               Plaintiffs,                ) INC.’S NINTH SET OF REQUESTS
                                             ) FOR PRODUCTION OF
 23         v.                               ) DOCUMENTS TO DEFENDANT
                                             ) APPLE INC. (NOS. 318-524)
 24   APPLE INC., a California corporation   ) (CORRECTED)
                                             )
 25                                          )
                  Defendant.                 ) Hon. James V. Selna
 26                                          ) Magistrate Judge John D. Early
                                             )
 27
 28

                                                                           Exhibit 6
                                                                            Page 1
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  1          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure,
  2   Plaintiffs    MASIMO      CORPORATION          (“Masimo”)         and   CERCACOR
  3   LABORATORIES, INC. (“Cercacor”) (collectively, “Plaintiffs”) hereby request
  4   that Defendant APPLE INC. (“Apple”) respond to the following Requests for
  5   the Production of Documents and Things (the “Requests”) within thirty (30)
  6   days of service of these Requests and produce the documents and things
  7   described herein at the offices of counsel for Masimo within the time prescribed
  8   by the Federal Rules of Civil Procedure. These Requests are deemed continuing
  9   in nature, requiring amended or supplemental responses as necessary.
 10                                    DEFINITIONS
 11          Notwithstanding any definition set forth below, each word, term or phrase
 12   used in these Requests is intended to have the broadest meaning permitted under
 13   the Federal Rules of Civil Procedure. As used in these Requests, the following
 14   terms are to be interpreted in accordance with these definitions:
 15          1.     The terms “Apple,” “Defendant,” “You,” and “Your” mean
 16   Defendant Apple, Inc., as well as any present or former officer, director,
 17   employee, agent, attorney, or other representative acting for or on behalf of
 18   Defendant Apple, Inc.
 19          2.     “Masimo” means Masimo Corporation, including its divisions,
 20   departments, parents, subsidiaries, affiliates or predecessors.
 21          3.     “Cercacor” means Cercacor Laboratories, Inc., including its
 22   divisions, departments, parents, subsidiaries, affiliates or predecessors.
 23          4.     The term “Plaintiffs” shall mean Masimo and Cercacor as defined
 24   above.
 25          5.     “Masimo Asserted Patents” means the patents Plaintiffs are
 26   asserting in this case, including U.S. Patent No. 10,258,265, U.S. Patent No.
 27   10,292,628, U.S. Patent No. 10,588,553, U.S. Patent No. 10,588,554, U.S.
 28   Patent No. 10,624,564, U.S. Patent No. 10,631,765, U.S. Patent No. 10,702,194,
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                                                                                   Exhibit 6
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  1   U.S. Patent No. 10,702,195, U.S. Patent No. 10,709,366, U.S. Patent No.
  2   6,771,994, U.S. Patent No. 8,457,703, and U.S. Patent No. 10,433,776. To the
  3   extent Plaintiffs assert additional patents in a future pleading, “Masimo Asserted
  4   Patents” shall be construed to include such patents.
  5         6.      “Apple Watch Products” means smartwatches produced by Apple,
  6   including the Original Apple Watch, Apple Watch Series 1, Apple Watch Series
  7   2, Apple Watch Series 3, Apple Watch Series 4, Apple Watch Series 5, Apple
  8   Watch Series SE, Apple Watch Series 6, and any subsequent series of the Apple
  9   Watch. For the avoidance of doubt, this definition
 10         7.     “Apple iPhone” means Apple iPhone products that use Apple’s
 11   mobile iOS operating system.
 12         8.     “Accused Products” means Apple Watch Series 3 or later, as well
 13   as the combination of Apple Watch Series 4 or later with an Apple iPhone.
 14         9.     “Apple Watch Series 7” means the Apple Watch models or
 15   prototypes following the Apple Watch Series 6, which was released on
 16   September 18, 2020, regardless of whether it has been released yet or what it is
 17   called internally or publicly.   For avoidance of doubt, “Accused Products”
 18   defined above includes the Apple Watch Series 7.
 19         10.    The “Disputed Patents” means the patents or patent applications
 20   that Plaintiffs assert should have their inventorship and/or ownership corrected,
 21   including U.S. Patent No. 10,078,052, U.S. Patent No. 10,247,670, U.S. Patent
 22   No. 9,952,095, and U.S. Patent No. 10,219,754, U.S. Patent No. 10,524,671,
 23   U.S. Patent App. No. 15/960,507, and U.S. Patent App. No. 16/700,710. To the
 24   extent Plaintiffs identify additional such patents or patent applications in a
 25   future pleading, “Disputed Patents” shall be construed to include such patents.
 26         11.    The term “Computer Media” shall mean and refer to all computer
 27   storage devices, including both internal and external hard drives, CDs, DVDs,
 28   flash drives, tapes, and any other electronic storage media.
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                                                                                   Exhibit 6
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  1         12.    The term “Former Employee” shall mean and refer to any current
  2   or former Apple employee who worked at Masimo or Cercacor before being
  3   employed by Apple.
  4         13.    The term “documents” shall be construed to include all writings
  5   and graphics of any sort whatsoever, together with any data stored in electronic
  6   or any other form, including, but not limited to, books, records, microfilm, tape
  7   or video recordings, emails, voice mails, handwritten notes, phone messages,
  8   pictures, and all copies of such documents except those that are identical in
  9   every respect to the original document.
 10         14.    The term “things” shall mean all tangible objects of any type,
 11   composition, construction, or nature.
 12         15.    The term “and” shall be construed to include “or” and vice versa,
 13   and each of them shall be the logical equivalent of “and/or.”
 14         16.    The term “concerning” shall mean relating to, referring to,
 15   describing, evidencing, or constituting.
 16         17.    The term “communication” shall mean and refer to the transmittal
 17   of information (in the form of facts, ideas, inquiries, or otherwise).
 18         18.    The use of the singular form of any word also includes the plural
 19   and vice versa, and a verb tense includes all other verb tenses wherever possible.
 20                                   INSTRUCTIONS
 21         1.     Produce all documents specified below that are in Your possession,
 22   custody, or control, or otherwise known and available to You, Your agents,
 23   employees, representatives, investigators, attorneys or their agents, employees,
 24   representatives, or investigators at the time and place indicated.
 25         2.     If You claim that any requested documents or things are privileged,
 26   then provide all information falling within the scope of the Request that is not
 27   privileged and identify with sufficient particularity for purposes of a motion to
 28   compel the information, document, or thing, separately, with respect to which
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                                                                                   Exhibit 6
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  1   REQUEST FOR PRODUCTION NO. 451:
  2         Documents regarding any evaluation by Apple of whether the pulse
  3   oximetry feature of the Apple Watch did or did not violate the intellectual
  4   property of others, including through patent infringement or trade secret
  5   misappropriation.
  6   REQUEST FOR PRODUCTION NO. 452:
  7         Documents regarding the design or development of Defendant’s Apple
  8   Watch Series 7 or any component of Defendant’s Apple Watch Series 7 that
  9   measures oxygen saturation or pulse rate.
 10   REQUEST FOR PRODUCTION NO. 453:
 11         Documents regarding the design and/or development of Defendant’s
 12   Apple Watch Series 7, and/or any component of Defendant’s Apple Watch
 13   Series 7 that measures perfusion index, total hemoglobin, oxygen content, pleth
 14   variability index, methemoglobin, carboxyhemoglobin, or respiration rate from
 15   the pleth.
 16   REQUEST FOR PRODUCTION NO. 454:
 17         Documents regarding the design and/or development of Defendant’s
 18   Apple Watch Series 7, and/or any component of Defendant’s Apple Watch
 19   Series 7 that measures blood glucose.
 20   REQUEST FOR PRODUCTION NO. 455:
 21         Documents regarding Apples planned efforts to market Defendant’s
 22   Apple Watch Series 7 to consumers.
 23   REQUEST FOR PRODUCTION NO. 456:
 24         Any sales projections for Defendant’s Apple Watch Series 7.
 25   REQUEST FOR PRODUCTION NO. 457:
 26         Documents sufficient to identify all persons involved in the design and
 27   development of the oxygen saturation or pulse rate features of the Apple Watch
 28   Series 7.
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                                                                                Exhibit 6
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  1   REQUEST FOR PRODUCTION NO. 458:
  2            Documents sufficient to identify all persons involved in the design and
  3   development of any features of the Apple Watch Series 7 that measure perfusion
  4   index,      total   hemoglobin,   oxygen   content,   pleth      variability   index,
  5   methemoglobin, carboxyhemoglobin, or respiration rate from the pleth.
  6   REQUEST FOR PRODUCTION NO. 459:
  7            Documents sufficient to identify all persons involved in the design and
  8   development of any features of the Apple Watch Series 7 that measure blood
  9   glucose.
 10   REQUEST FOR PRODUCTION NO. 460:
 11            Documents sufficient to identify the algorithm used in the oxygen
 12   saturation or pulse rate features of the Apple Watch Series 7.
 13   REQUEST FOR PRODUCTION NO. 461:
 14            Documents sufficient to identify the algorithm in the Apple Watch 7 used
 15   to calculate perfusion index, total hemoglobin, oxygen content, pleth variability
 16   index, methemoglobin, carboxyhemoglobin, or respiration rate from the pleth.
 17   REQUEST FOR PRODUCTION NO. 462:
 18            Documents sufficient to identify the algorithm in the Apple Watch 7 used
 19   to calculate blood glucose.
 20   REQUEST FOR PRODUCTION NO. 463:
 21            Documents sufficient to identify when you began the design and
 22   development of the oxygen saturation or pulse rate features of the Apple Watch
 23   Series 7.
 24   REQUEST FOR PRODUCTION NO. 464:
 25            Documents sufficient to identify when you began the design and
 26   development of any features of the Apple Watch Series 7 that measure perfusion
 27   index,      total   hemoglobin,   oxygen   content,   pleth      variability   index,
 28   methemoglobin, carboxyhemoglobin, or respiration rate from the pleth.
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                                                                                      Exhibit 6
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                                 #:52010



  1   REQUEST FOR PRODUCTION NO. 465:
  2         Documents sufficient to identify when you began the design and
  3   development of any features of the Apple Watch Series 7 that measure blood
  4   glucose.
  5   REQUEST FOR PRODUCTION NO. 466:
  6         Documents regarding how many Apple Watch customers use each of the
  7   features    listed   under   the   “Quick      Look”   heading   of   the   website
  8   https://www.apple.com/watch/compare         for   each   Apple   Watch      Product,
  9   including all Apple Watch Products both listed and not listed on that website
 10   that use features listed on that website.
 11   REQUEST FOR PRODUCTION NO. 467:
 12         Documents regarding the proportion of Apple Watch customers use each
 13   of the features listed under the “Quick Look” heading of the website
 14   https://www.apple.com/watch/compare         for   each   Apple   Watch      Product,
 15   including all Apple Watch Products both listed and not listed on that website
 16   that use features listed on that website.
 17   REQUEST FOR PRODUCTION NO. 468:
 18         All communications between (1) Pekka Talke, and (2) any Apple
 19   employee or other individuals associated with Apple, including Apple in-house
 20   council or employees of Gibson, Dunn & Crutcher LLP, regarding pulse rate or
 21   pulse oximetry.
 22   REQUEST FOR PRODUCTION NO. 469:
 23         All communications between (1) any Apple employee or other
 24   individuals associated with Apple, including Apple in-house council or
 25   employees of Gibson, Dunn & Crutcher LLP, and (2) the FDA, regarding pulse
 26   rate or pulse oximetry.
 27   REQUEST FOR PRODUCTION NO. 470:
 28         Documents regarding Marcelo Lamego’s job duties and title.
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                                                                                     Exhibit 6
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  1   REQUEST FOR PRODUCTION NO. 523:
  2         Documents sufficient to identify the source of each item of information
  3   regarding pulse rate or oxygen saturation technology used by each of the
  4   following individuals while employed by Apple: John Aguilar, Anderson
  5   Briglia, Johannes Bruinsma, Ottavia Golfetto, Haritha Haridas, Swapnil
  6   Harsule, Joe Jagenow, Marcelo Lamego, Inje Lee, Yinghui Lu, Ehsan Masoumi,
  7   Michael O’Reilly, Boris Oreshkin, Mathew Paul, Kornelius Raths, Will Regan,
  8   Felipe Tonello, Vincent Wayne, and Rich Young.
  9   REQUEST FOR PRODUCTION NO. 524:
 10         Documents identifying the source of each item of information regarding
 11   pulse rate or oxygen saturation technology used by each of the following
 12   individuals while employed by Apple: John Aguilar, Anderson Briglia,
 13   Johannes Bruinsma, Ottavia Golfetto, Haritha Haridas, Swapnil Harsule, Joe
 14   Jagenow, Marcelo Lamego, Inje Lee, Yinghui Lu, Ehsan Masoumi, Michael
 15   O’Reilly, Boris Oreshkin, Mathew Paul, Kornelius Raths, Will Regan, Felipe
 16   Tonello, Vincent Wayne, and Rich Young.
 17
 18                                 KNOBBE, MARTENS, OLSON & BEAR, LLP
 19
 20   Dated: May 25, 2021           By: /s/ Adam B. Powell
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 23                                     Mark D. Kachner
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                                        Cercacor Laboratories, Inc.
 26
 27
 28
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                                                                              Exhibit 6
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